Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 1 of 19 Page ID #:16



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                                            8:23-cr-00079-DOC
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 2 of 19 Page ID #:17
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 3 of 19 Page ID #:18
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 4 of 19 Page ID #:19
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 5 of 19 Page ID #:20
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 6 of 19 Page ID #:21
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 7 of 19 Page ID #:22
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 8 of 19 Page ID #:23
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 9 of 19 Page ID #:24
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 10 of 19 Page ID #:25
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 11 of 19 Page ID #:26
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 12 of 19 Page ID #:27
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 13 of 19 Page ID #:28
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 14 of 19 Page ID #:29
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 15 of 19 Page ID #:30
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 16 of 19 Page ID #:31
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 17 of 19 Page ID #:32




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Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 18 of 19 Page ID #:33
Case 8:23-cr-00079-DOC Document 6 Filed 06/12/23 Page 19 of 19 Page ID #:34
